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                      IN THE UNITED STATED DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

     ARTUR PAYTYAN,                           §
                                              §
             Plaintiff,                       §
                                              §
     vs.                                      §
                                              §           Civil Action No. 3:15-CV-03343-N
     GOVERNMENT EMPLOYEES                     §
     INSURANCE COMPANY                        §
     (GEICO),                                 §
                                              §
            Defendant.                        §

                                           ORDER

       Now before the Court is the parties’ Joint Motion to Remand, filed on April 12, 2016, per

Docket Entry No. 19. After reviewing the Joint Motion to Remand, and noting that the relief

sought therein has been agreed to and jointly requested by the parties, the Court GRANT the

parties’ Joint Motion to Remand. This case is remanded to County Court at Law No. 2, Dallas

County, Texas, CC-15-04636-B.

       SIGNED this 15th day of April, 2016.




                                            DAVID C. GODBEY
                                            UNITED STATES DISTRICT JUDGE




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